        Case:17-11810-MER Doc#:66 Filed:01/18/19                      Entered:01/18/19 15:00:46 Page1 of 2


 Fill in this information to identify your case

 UNITED STATES BANKRUPTCY COURT DISTRICT OF COLORADO
 Debtor 1:      Judith         Jean              Schneider       Case #:     17-11810-MER
                First Name       Middle Name         Last Name


 Debtor 2:                                                       Chapter:    13
                First Name       Middle Name         Last Name


Local Bankruptcy Form 9010-1.1
Notice of Advisement


 Part 1 Notice

The undersigned, attorney of record for the debtor in this case, hereby certifies that:

   ☒     The undersigned has advised the debtor regarding the following pending matter: Chapter 13 Trustee’s Motion to
         Determine Treatment of Claim #7 Filed by Adams County Treasure Motion For Relief From Stay, Docket No. 63.
   ☐     The undersigned has informed the debtor that the undersigned will take no further action or file a response to this
         matter on behalf of the debtor.

   ☐     Opposing counsel may communicate directly with the debtor regarding this pending matter.



 Part 2 Signature of Debtor’s Attorney




Dated: January 18, 2019                                             By: /s/ Michael J. Watton, Esq. #46893
                                                                        Signature of Attorney

                                                                    Watton Law Group
                                                                    301 W. Wisconsin Ave., 5th Floor
                                                                    Milwaukee, WI 53203
                                                                    Phone: 720-590-4600
                                                                    Fax: 303-295-0242
                                                                    E-mail: wlgdnvr@wattongroup.com




L.B.F. 9010-1.1 (12/17)                                                                                               Page 1
        Case:17-11810-MER Doc#:66 Filed:01/18/19                      Entered:01/18/19 15:00:46 Page2 of 2


 Fill in this information to identify your case

 UNITED STATES BANKRUPTCY COURT DISTRICT OF COLORADO
 Debtor 1:      Judith        Jean              Schneider       Case #:     17-11810-MER
                First Name      Middle Name         Last Name


 Debtor 2:                                                      Chapter:    13
                First Name      Middle Name         Last Name


Certificate of Service
The undersigned hereby certifies that a true and correct copy of the forgoing Notice was served by placing the same in
the United States Mail, first class postage pre-paid, (or via electronic service through ECF if the party accepts service in
this manner) this January 18, 2019 to the following:

The following creditors received electronic notice via CM/ECF:

Adam M. Goodman
Chapter 13 Trustee
PO Box 1169
Denver, CO 80201

US Trustee, 13
Byron G. Rogers Federal Building
1961 Stout St.
Ste. 12-200
Denver, CO 80294


           Signature




Dated: January 18, 2019                                            By: /s/ Tammy Her
                                                                       Legal Assistant for Debtor’s Counsel

                                                                   Watton Law Group
                                                                   301 W. Wisconsin Ave., 5th Floor
                                                                   Milwaukee, WI 53203
                                                                   Phone: 720-590-4600
                                                                   Fax: 303-295-0242
                                                                   E-mail: wlgdnvr@wattongroup.com




L.B.F. 9010-1.1 (12/17)                                                                                               Page 2
